Case 1:17-cv-02559-DAR Document11 Filed 07/18/18 Page 1 of 3

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

KOCH MINERALS SARL
Chemin des Primevéres 45
Fribourg, 1700
Switzerland

KOCH NITROGEN INTERNATIONAL SARL
Chemin des Primevéres 45

Fribourg, 1700

Switzerland,

Plaintiffs,
v.

BOLIVARIAN REPUBLIC OF VENEZUELA
Ministerio del Poder Popular para Relaciones
Exteriores

Oficina de Relaciones Consulares

Avenida Urdaneta

Esquina Carmelitas a Puente Llaguno

Piso 1 del Edificio Anexo a la Torre MRE
Caracas, 1010

Republica Bolivariana de Venezuela,

Defendant.

 

 

 

Civil Action No. 1:17-cv-02559

NOTICE OF WITHDRAWAL AND SUBSTITUTION OF COUNSEL FOR PLAINTIFFS

PLEASE TAKE NOTICE that Koch Mineral Sarl (“KOMSA”) and Koch Nitrogen

International Sarl (“IKNI”) (collectively “Plaintiffs”), have retained Alston & Bird LLP to

substitute as counsel for Cooley LLP in the above-captioned matter.

Withdrawing counsel for Plaintiffs KOMSA and KNI are:

i. Mark D. Beckett
COOLEY, LLP
1114 Avenue of the Americas
46th Floor
New York, NY 10036
(212) 408-5226
Fax: (646) 710-5226
Email: mbeckett@cooley.com
Case 1:17-cv-02559-DAR Document 11

2. Nathaniel M. Putnam

COOLEY, LLP

1114 Avenue of the Americas
46th Floor

New York, NY 10036

(212) 479-6703

Fax: (212) 479-6275

Email: nputnam@cooley.com

Michael Joseph Klisch
COOLEY, LLP

1299 Pennsylvania Avenue, NW
Suite 700

Washington, DC 20004

(202) 842-7800

Fax: (202) 842-7899

Email: mklisch@cooley.com

Filed 07/18/18

Page 2 of 3

Ali pleadings, orders and notices should henceforth be served upon the following

substituted counsel for Plaintiffs KOMSA and KNI:

1.

Alexander A. Yanos

Alston & Bird LLP

90 Park Avenue

New York, NY 10016

Phone: 212-210-9584

Fax: 212-210-9444

E-mail: alex.yanos@alston.com

. Carlos Ramos-Mrosovsky

Alston & Bird LLP
90 Park Avenue
New York,

NY 10016

Phone: 212-210-9585
Fax: 212-210-9444
E-mail: carlos.ramos-mrosovsky@alston.com

bo
Case 1:17-cv-02559-DAR Document11 Filed 07/18/18 Page 3 of 3

The undersigned parties consent to the above withdrawal and substitution of counsel.

DATED: June 27, 2018 KOMSA
cD
ye sy aitnay he
DATED: June 27, 2018 KMI

By boa Tata ty:

DATED: July [4 2018 COOLEY LLP
” — OS —
By: {£LLUF et o
KD. RECRET
DATED: July/7/ 2018 ALSTON & BIRD LLP

 

I hereby attest that I obtained concurrence in the filing of this document from each of the

other signatories on this e-filed document.

DATED: July If 2018 ALSTON & BIRD LLP
B were oe

ALEXANDER A. YANOS
